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                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: July 19, 2023



Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 22-1010, Timothy King v. Gretchen Whitmer, et al
                         Originating Case No. 2:20-cv-13134

Dear Ms. Essix:

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Patricia J. Elder, Senior Case Manager
                                                   for C. Anthony Milton, Case Manager

cc: Mr. David H. Fink
    Mr. Nathan Joshua Fink
    Mr. Erik A. Grill
    Ms. Stefanie Lynn Junttila
    Ms. Heather S. Meingast

Enclosure
            Case: 22-1010 Document:
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT

                                               ________________

                                                  No: 22-1010
                                               ________________

                                                                      Filed: July 19, 2023

TIMOTHY KING

                Plaintiff

 and

STEFANIE LYNN JUNTTILA

                Interested Party - Appellant

v.

GRETCHEN WHITMER; JOCELYN BENSON; CITY OF DETROIT, MI

                Defendants - Appellees



                                                MANDATE

     Pursuant to the court's disposition that was filed 06/23/2023 the mandate for this case hereby

issues today.



 COSTS: None
